 

Case 5:08-cr-00592-EGS Document 134 Filed 10/06/09 Page 1 of 1

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\/ IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT. OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL ACTION '
v. § F l L. E D

JOHN KAROLY, JR. § No. 08-592-1 OC"` 9 5 2099
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MICHAE KUNZ, Clerk
By Dep. Clerk
0 R D E R

AND NOW, this 5 day of October, 2009, upon consideration of a request from
counsel in the abovesaid case, it is hereby ORDERED that counsel shall each submit a
memorandum discussing (l) the material facts developed at the bench trial in this case and (2)
the law supporting these charges or the defense to these charges.

IT IS FURTHER ORDERED that the memoranda shall be submitted on or before

Wednesday, October 14, 2009.

AND IT IS SO ORDERED.

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L`z§vrence F. Stengel, J.

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